                      UNITED STATES BANKRUPTCY COURT
                             Western District of Texas

                                                                Bankruptcy Case
                                                                                19−10686−tmd
                                                                           No.:
                                                                   Chapter No.: 7
                                                                         Judge: Tony M. Davis
IN RE: Abigail Sarah Alexander , Debtor(s)




                                        NOTICE OF HEARING

PLEASE TAKE NOTICE that a hearing will be held

     at   Austin Courtroom 1, Homer Thornberry Judicial Bldg., 903 San Jacinto, Austin, TX 78701

     on   11/25/19 at 10:30 AM

     Hearing to Consider and Act Upon the Following: (Related Document(s): 21 Motion to Sell Property Free and
     Clear of Liens 11 USC 363(f) (21 Day Objection Language) filed by Brian Talbot Cumings for Trustee Ron
     Satija ) Hearing Scheduled For 11/25/2019 at 10:30 AM at Austin Courtroom 1 .....IF TIME ESTIMATE
     FOR BOTH SIDES EXCEEDS 30 MINUTES, PLEASE E−MAIL THE COURTROOM DEPUTY AT
     JENNIFER_LOPEZ@TXWB.USCOURTS.GOV AND ALL AFFECTED PARTIES FOR A SPECIAL
     SETTING. (Lopez, Jennifer)


Dated: 10/17/19
                                                          Yvette M. Taylor
                                                          Clerk, U. S. Bankruptcy Court




                                                                                          [Hearing Notice (BK)] [NtchrgBKap]
                                               United States Bankruptcy Court
                                                 Western District of Texas
In re:                                                                                                     Case No. 19-10686-tmd
Abigail Sarah Alexander                                                                                    Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0542-1                  User: lopezj                       Page 1 of 1                          Date Rcvd: Oct 17, 2019
                                      Form ID: 132                       Total Noticed: 3


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 19, 2019.
db             +Abigail Sarah Alexander,   707 Theresa Cv,   Cedar Park, TX 78613-4042
intp           +Mary Huckeby,   Huckeby & Associates Realtors LLC,   1022 Arlington St,   Ada, OK 74820-4037

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
cr             +E-mail/Text: newbk@Regions.com Oct 18 2019 00:52:20     Regions Mortgage,
                 7130 Goodlett Farms Parkway,   A4W,   Cordova, TN 38016-4991
                                                                                            TOTAL: 1

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 19, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 17, 2019 at the address(es) listed below:
              B. Weldon Ponder, Jr.    on behalf of Plaintiff    Monarch Partners, Inc. welpon@austin.rr.com,
               wponder3@austin.rr.com
              B. Weldon Ponder, Jr.    on behalf of Plaintiff Justin Javernick welpon@austin.rr.com,
               wponder3@austin.rr.com
              Brian Talbot Cumings    on behalf of Trustee Ron Satija bcumings@gdhm.com, ctrickey@gdhm.com
              Evan Sean Harlow    on behalf of Debtor Abigail Sarah Alexander evan@evanharlow.lawyer,
               corinne@evanharlow.lawyer
              H. Gray Burks, IV    on behalf of Creditor    Regions Mortgage gburks@logs.com, nibates@logs.com
              Kirk A. Schwartz    on behalf of Creditor    Regions Mortgage kschwartz@logs.com,
               txbkwestern@logs.com
              Neil J. Orleans    on behalf of Creditor    Beacon Sales Acquisition, Inc.
               Neil.orleans@judithwross.com
              Neil J. Orleans    on behalf of Plaintiff    Beacon Sales Acquisition, Inc.
               Neil.orleans@judithwross.com
              Ron Satija     rsatija@satijatrustee.com,
               ecf@satijatrustee.com;rs135@trustesolutions.com;RS135@trustesolutions.net;rsatija@ecf.inforuptcy.
               com;laura@satijatrustee.com
              Shane P. Tobin    on behalf of U.S. Trustee    United States Trustee - AU12 shane.p.tobin@usdoj.gov
              Stephen M Dacus    on behalf of Plaintiff    Catholic Health Initiatives Colorado, dba Sisters of
               Charity Health Services Colorado stephen.dacus@kutakrock.com,
               Elizabeth.Hulse@KutakRock.com;kandis.welch@kutakrock.com
              Stephen Matthew Schultz    on behalf of Defendant Abigail Sarah Alexander stephen@tslf.com
              Stephen Matthew Schultz    on behalf of Counter Claimant Abigail Sarah Alexander stephen@tslf.com
              United States Trustee - AU12    ustpregion07.au.ecf@usdoj.gov
                                                                                              TOTAL: 14
